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U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

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IN THE UNITED STATES DISTRICT G OURT|
FOR THE NORTHERN DISTRICT OF TEXAS MAY 28 2019
FORT WORTH DIVISION | “

 

 

 

CLERK, U.S. DISTRICT COURT
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UNITED STATES OF AMERICA § Pepuly
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V. § NO. 4:19-MJ-433
§
MICHAEL WEBB

WAIVER OF PRELIMINARY EXAMINATION

I understand that I have been charged in a complaint pending in this district. Having
appeared before this Court and been advised of my rights including my right to have a preliminary

examination, do hereby waive (give up) my right to a preliminary examination.

 

 

 

Se ne, e -f, f J.
Date MICHAEL WEBB, Defendant
(>) BARE
Counsel for Defendant
